













Opinion issued February 5, 2009








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-08-00679-CV
____________

ROBERTO REICHARD, JENNIFER KENNY, AND 11510 HABERSHAM
PARTNERS, Appellants

V.

LUPITA NEWTON, Appellee




On Appeal from the County Civil Court at Law No. 1
Harris County, Texas
Trial Court Cause No. 905087




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The parties have filed a joint motion to dismiss their appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(2).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Taft, Bland, and Sharp.


